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              STATE OF MAINE                          SUPERIOR COURT
              CUMBERLAND,                             PORTLAND


              TERRY R. BAKER and
              SHANTEL L. BAKER as
              personal representatives of
              the estate of CHANCE D. BAKER,                NO.CV- l'^"4^
                                        Plaintiti,

                     V.




              NICHOLAS GOODMAN,in his
              individual capacity;
              COASTAL PAWN SHOP;
              JOHN DOE,employee or manager
              of COASTAL PAWN SHOP;
                                        Defendants.




                                       COMPLAINT


                    1.     The Plaintiffs, Terry Baker and Shantel Baker, bring

              this civil rights and wrongful death action against the Defendant,

              Portland Police Sergeant Nicholas Goodman, under 42 U.S.C. §

              1983, 5 M.R.S.A. § 4682, and 18-A M.R.S.A. § 2-804, for the

              unlawful use of excessive and deadly force against Chance D.

              Baker on February 18, 2017 in Portland, Maine in violation of the

              Fourth Amendment of the United States Constitution, and Article
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